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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 In re:                                       )      Case No. 16-48880-399
                                              )      Honorable Barry Schermer
 TAMMY SWAN and                               )      Chapter 7
 ROBERT SWAN,                                 )
     Debtors.                                 )      APPLICATION TO APPROVE
                                              )      COMPROMISE AND SETTLEMENT
                                              )      Hearing Date: March 6, 2018
                                              )      Hearing Time: 2:00 p.m.
                                              )      Hearing Location: 5 North

                                    NOTICE OF HEARING

 PLEASE TAKE NOTICE that on March 6, 2018, at the hour of 2:00 p.m., or as soon thereafter as
 counsel can be heard, the undersigned will call for hearing in this Court the Trustee’s Motion to
 Compromise, in United States Bankruptcy Court, Courtroom 5 North Floor, 111 S. 10th Street, St.
 Louis, MO 63102. You may be present at that time and be heard.

 WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
 YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
 THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
 PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
 THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE BY
 FEBRUARY 27, 2018. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD
 NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
 BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
 MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
 HEARING. THE DATE IS SET OUT ABOVE. UNLESS THE PARTIES AGREE
 OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
 MAY DECIDE THE MOTION AT THE HEARING. REPRESENTED PARTIES SHOULD
 ACT THROUGH THEIR ATTORNEYS.

 PLEASE TAKE NOTICE that Trustee intends to perform the terms of the settlement agreement
 outlined below and abandon the estate’s interest in the property as described below unless
 meritorious objection be filed with the Clerk of the Bankruptcy Court, Thomas F. Eagleton U.S.
 Courthouse, 111 S. 10th St., 4th Fl., St. Louis, MO 63102 with a copy to the undersigned by
 February 27, 2018. Any objection which may be filed will be heard in the United States Bankruptcy
 Court at the address listed above, in Courtroom March 6, 2018, at 2:00 p.m. In the event that no
 objections are filed, the Court may enter an order approving the compromise and settlement
 without the necessity of a hearing.
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            APPLICATION TO APPROVE COMPROMISE AND SETTLEMENT

        COMES NOW, Tracy A. Brown, the duly appointed and acting Chapter 7 Trustee in

 Bankruptcy for the estate of Robert and Tammy Swan, by and through counsel, and for her

 Application to Approve Compromise and Settlement, respectfully states to this Court as

 follows:

 1.     Robert and Tammy Swan (“Debtors”) filed their Voluntary Petition for Relief under

 Chapter 7 of 11 U.S.C. 101 et seq. (the “Bankruptcy Code”) on February 27, 2013 (the

 “Petition Date”).

 2.     Tracy A. Brown (“Trustee”) is the duly appointed and acting Chapter 7 Trustee for the

 Debtor’s Bankruptcy estate.

 3.     Among the assets of the bankruptcy estate is Debtor Tammy Swan’s interest in a

 personal injury claim (the “Litigation”).

 4.     Plaintiff/Debtor was represented by attorney James Joyce (“Special Counsel”).

 5.     To the best knowledge of the Trustee, the total settlement allotted to the Debtor after

 deductions for incentive and attorneys’ fees and other costs, was approximately $32,261.90

 (the “Net Recovery”).

 6.     Trustee believes that that the Net Recovery is entirely pre-petition.

 7.     It is the position of the Trustee that because the Net Recovery is entirely pre-petition

 it is entirely property of the Debtors’ bankruptcy estate. As a result, the Trustee seeks this

 Court’s approval of the resolution of the Suit and the payment of incentive and attorneys’ fees

 and other costs and authorization for the Trustee to retain and administer upon the Current

 Funds of $32,261.90 as property of the Debtor’s bankruptcy estate.
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 8.     To avoid the cost and risk associated with litigation, the Trustee and Debtor have

 reached an agreement concerning the estate’s interest the reimbursement, payable as follows:

            a. Debtor shall receive 50% of the settlement proceeds – including any applicable

               exemptions.

            b. The disbursement of the total funds of the Settlement to Debtor will be

               calculated as follows:

            50,000.00 GROSS SETTLEMENT
          - 16,667.00 Special Litigation Counsel fee
            33,333.00
          - 1,071.10 costs and medical liens
             32,261.90 NET RECOVERY
             16,130.95 50% To Debtor per agreement with Trustee
             16,130.95 50% Payable to the Bankruptcy Estate

 9.     The terms of the parties is expressly condition upon the approval of the United States

 Bankruptcy Court of the Eastern District of Missouri and entry of a final and non-appealable

 order approving this compromise and settlement.

 10.    The Trustee believes the proposed compromise and settlement as described herein is

 in the best interest of the Debtor’s bankruptcy estate and fulfills the requirements for the

 approval of a compromise and settlement under Federal Rule of Bankruptcy Procedure

 9019(a) as discussed in In re: Apex Oil Company, 92 B.R. 847, 867 (Bankr. E.D. Mo. 1988).

        WHEREFORE, Trustee respectfully requests this Honorable Court make and enter its

 order approving this Application to Approve Compromise and Settlement, permitting the

 parties through this compromise and settlement to take all necessary and reasonable steps to

 complete this settlement in a timely fashion as described herein, and granting such additional

 relief as this Court deems just and proper.
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                                               Respectfully submitted,
                                               The Law Office of Tracy Brown, P.C.

                                               By: /s/ Tara L. Jensen
                                               TARA L. JENSEN, #47144MO
                                               Attorney for Trustee
                                               1034 S. Brentwood Blvd., Suite 1830
                                               St. Louis, MO 63124
                                               314.644.0303 p / 314.644.0333 f
                                               TJensen@bktab.com


                                   CERTIFICATE OF SERVICE

 I certify that a true and correct copy of the foregoing document was filed electronically on
 February 1, 2018 with the United States Bankruptcy Court, and has been served on the parties
 in in interest via e-mail by the Court’s CM/ECF System as listed on the Court’s Electronic
 Mail Notice List.

 I certify that a true and correct copy of the foregoing document was filed electronically with
 the United States Bankruptcy Court, and has been served by Regular United States Mail
 Service, postage fully pre-paid, address to those parties listed on the Court’s Manual Notice
 List and attached as Exhibit 1 on February 1, 2018.

 I certify that a true and correct copy of the foregoing document was filed electronically with
 the United States Bankruptcy Court, and has been served on the following Insured Depository
 Institution pursuant to Fed. R. Bankr. P. 7004(h), or on the United States, or any of its officers
 or agencies pursuant to Fed. R. Bankr. P. 7004(b)(4) or (5), on February 1, 2018 by First Class
 Mail addressed to the following persons on the attached Exhibit 1.


                                                             /s/ Debbie Gibson
                                                             Debbie Gibson
